  Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 1 of 11

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                            Dated:   April 9, 2018         L ;' '   /·   t' :-: ,


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VIA FIRST CLASS MAIL.                                                                    '.-'!...:.




LISA PEZZAROSSI, DEP. CLERK
UNITED STATES DISTRICT COURT
OFFICE OF THE CLERK
1 COURTHOUSE WAY,   SUITE 2300
BOSTON, MASSACHUSETTS 02210



In Re:   Kyricopoulos   v. Gaffney
         Civil No. 17-11778-FDS



Dear Ms. Pezzarossi;


    Please forgive my indulgence, kindly find enclosed for
docketing immediately and ruling:


    1.   Petitione's Motion for the Alternative;        and

    2.   Certificate of Service.


Thank you for your time, and still waiting for updated docket
entries, need them for my next filing to a Superior Court.




                                                   r Kyricopoulos,
                                            e   ioner, pro-se
                                        presently incarcerated at:
                                        Old colony Correctional
                                        Center-Minimum Seurity
JPK                                     One Administration Road
enclosures                              Bridgewater, Mass. 02324
cc: See Certificate of Service
    Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 2 of 11




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



JAMES PETER KYRICOPOULOS,
  petitioner
                                                             .,, ..   t'-:)
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                                                              ~"'") --!
                                                              • • i ~:~         0-
    v.                                Civil Action No. 17';-l:f.r78---tDS
                                                          ·.·:c,     :::::
                                                                _;:,,   ,,:-,
                                                                ' .,. ;}_1
ERIN GAFFNEY,                                                   -     -1
  RESPONDENT




                    PETITIONER'S MOTION IN THE
                         ALTERNATIVE


NOW COMES the petitioner, pro-se and submits this Motion in the

Alternative, for the Petitioner to Proceed with Appeal, no. 18-

1245.    As reasons for, the petitioner upon receiving a notice

from the First Circuit Court of Appeals, timely filed Motion for

Extension or Enlargement of Time as he did not have the form/app-

lication with acconpanying affidavit to proceed in Forma Pauperis

see attached copy of Motion dated      March 26, 2018.      As of today,

the petitioner hasNOT received anything from this Court, the

petitioner has attached a     a Order of the Court, First Circuit,

May 31, 2017, less than a year ago, granting the petitioner to

proceed in forma pauperis, where he was Appealing the District

Court didmissing his related habeas corpus, well today, same

facts, still incarcerated, nothing different, but the habeas
         Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 3 of 11




attacking same state conviction. As the U.S. Supreme Court                has

said in Rule 39, lower court has already declared petitioner                can

proceed in Forma Pauperis.


Accordingly, instead og forwarding         petitioner the forms, and

delaying 2-3 weeks, there is no way the petitioner can be denied

to proceed in Forma Pauperis, Allow the petitioner to proceed

in Forma Pauperis in this Appeal, docketed as no. 18-1245

in the alternative.


                                        Respectfully submitted,



                                                       icopoulos,
                                                ioner, pro-se
                                          e       · arcerated at:
                                        Old colony Correctional Center
                                        Minimum Security
                                        One Administration Road
                                        Bridgewater, Mass. 02324



Dated:     april 9, 2018
     Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 4 of 11




                   CERTIFICATE OF SERVICE



I, James Peter Kyricopoulos, petitioner, pro-se do hereby
certify that true copies of the enclosed were mailed to the foll
owing by first class mail, postage prepaid this 9th day of April
2018:




                           EVA BADWAY, ASST' ATT. GENERAL
                           OFFICE OF THE ATTORNEY GENERAL
                           ONE ASHBURTON PLACE
                           BOSTON, MASS.  02108




                           STEPHEN BREYER,
                           UNITED STATES SUPREME COURT JUSTICE
                           UNITED STATES SUPREME COURT
                           1 FIRST ST., N.E.
                           WASHINGTON, D.C. 20543




                           MARGARET CARTER, CLERK
                           UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT
                           1 COURTHOUSE WAY, SUITE 2500
                           BOSTON, MASSACHUSETTS 02210




Dated:   April 9, 2018
          Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 5 of 11




               United States Court of Appeals
                               For the First Circuit

No. 17-1374
                              JAMES PETER KYRICOPOULOS,

                                     Petitioner, Appellant,

                                               V.


                                     JOSEPH MURPHY,

                                     Respondent, Appellee.



                                     ORDER OF COURT

                                    Entered: May 31, 2017

        Petitioner's motion to proceed in forma pauperis is GRANTED. Petitioner's motion to stay
this proceeding is DENIED; however, the deadline for petitioner to file an application for
certificate of appealability is extended to June 16, 2017. No further extensions will be granted.


                                                    By the Court:

                                                    /s/ Margaret Carter, Clerk




cc:
J arnes Peter K yricopoulos
Eva Marie Badway
         Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 6 of 11




                                       Dated:   March 26, 2018



VIA FIRST CLASS MAIL.




LISA PEZZAROSSI, DEP. CLERK
TO THE VERY HONORABLE U.S.D.J.
F. DENNIS SAYLOR IV
UNITED STATES DISTRICT COURT
OFFICE OF THE CLERK
1 COURTHOUSE WAY, SUITE 2300
BOSTON, MASSACHUSETTS 02210




IN RE:         JAMES PETER KYRICOPOULOS,    petitioner/appellant


                         v.

               ERIN GAFFNEY, respondent/appellee

               Civil Action no. 17-11778-FDS

               Appeals Court No. 18-1245



Dear Ms. Pezzarossi;


    Please find enclosed to be filed and processed           forthwith



         1.     Petitioner's Motion for Extension of Time;


          2.     certificate of Service.

Thank you for your time, and you kindly forward to me after the
Court rules upon the above Motion, certified docket entries for
the Appeal.
    Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 7 of 11




                                  J me    eter Kyricopoulos,
                                    petitioner/appellant, pro-se
                                  presently incarcerated at:
                                  Old Colony Correctional Center
                                  Minimum Security
                                  One Administration Road
                                  Bridgewater, Mass. 02324



JPK
enclosures
cc: Margaret Carter, Clerk, U.s. Court of Appeals
     Andrew Lelling, U.S. attorney
     Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 8 of 11




                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS




JAMES PETER KYRICOPOULOS,       )

     petitioner



       v.                            Civil Action No. 17-11778-FDS


ERIN GAFFNEY,

     respondent




                  PETITIONER'S MOTION FOR ENLARGEMENT
                            OF TIME



NOW COMES the petitioner, James Peter Kyricopoulos, pro-se

and submits this Motion for Enlargement of Time to File His

Motion Motion to Proceed In Forma Pauperis upon receiving the

enclosed notice from the Clerk of the U.S. Court of Appeals

for the First Circuit, dated march 21, 2018.        As reasons for,

here at this prison where they haver kept me for over the three

(3) years of false imprisonment, they do not download the

Court forms, and the petitioner is requesting that this Court

Court direct his clerk to forward the required forms in order

for the petitioner can fill them out and forward to this Court

for its Allowance The Notice from the Clerk states that the

petitioner has 14 days from the date of her notice.
   Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 9 of 11




The petitioner is requesting thathe be granted an additional 14

days to complete the forms and forward them to this Court.

The petitioner is exercising all safeguards, because of the

Bias and Prejudice that this Court has and the First Circuit,

kindly see copy of Request to Andrew Lelling, U.S. Attorney

for the District of Massachusetts, kindly review, the inference

that a reasonable person would conclude is nothing but shock

and disgust that a federal courthouse is corrput.


ACCORDINGLY, the Petitioner's Motion must be Allowed.




                               Respectfully submitted,



                                           r Kyricopoulos,
                                      i
                               presen y incarcerated at:
                               OLd Colony Correctional Center
                               Minimum Security
                               One Administration Road
                               Bridgewater, Mass. 02324



Dated:   March 26, 2018
  Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 10 of 11




                  CERTIFICATE OF SERVICE



I, James Peter Kyricopoulos, petitioner, pro-se do hereby
certify that true copies of the enclosed were mailed to the
following by first class mail, postage prepaid this 26th day of
March, 2018:



                   EVA BADWAY, ASST' ATTORNEY GENERAL
                   OFFICE OF THE ATTORNEY GENERAL
                   ONE ASHBURTON PLACE
                   BOSTON, MASSACHUSETTS 02108




                  MARGARET CARTER, CLERK
                  UNITED STATES COURT OF APPEALS
                   FOR THE FIRST CIRCUIT
                  UNITED STATES DISTRICT COURTHOUSE
                  1 COURTHOUSE WAY,  SUITE 2500
                  BOSTON, MASSACHUSETTS 02210




                                                 Kyricopoulos



Dated:   March 26, 2018
•
             Case 1:17-cv-11778-FDS Document 55 Filed 04/16/18 Page 11 of 11




                   United States Court of Appeals
                                     For the First Circuit
    No. 18-1245
                                    JAMES PETER KYRICOPOULOS

                                           Petitioner - Appellant

                                                      V.


                                             ERIN GAFFNEY

                                           Respondent - Appellee


                                       CASE OPENING NOTICE

                                          Issued: March 21, 2018


           The above-captioned appeal was docketed in this court today pursuant to Rule 12 of the
    Federal Rules of Appellate Procedure. The above case number and caption (unless modified or
    amended as reflected in the heading of future court notices or orders) should be used on all papers
    subsequently submitted to this court. If any party disagrees with the clerk's office's designation
    of the parties on appeal, it must file a motion to amend the caption with any supporting
    documentation attached. Absent an order granting such a motion, the parties are directed to use
    the above caption on all pleadings related to this case.

            Upon confirmation by the circuit clerk that the record is complete either because no
    hearing was held, no transcript is necessary, or the transcript is on file, the clerk's office will set
    the briefing schedule and forward a scheduling notice to the parties.

             Within seven days of filing the notice of appeal, appellant must pay the filing fee to the
    district court clerk. An indigent appellant who seeks to appeal in forma pauperis must file a motion
    and financial affidavit in the district court in compliance with Fed. R. App. P. 24. Unless this court
    is provided with notice of paying the filing fee to the clerk of the district court or filing a motion
    seeking in forma pauperis status within fourteen days of the date of this notice, this appeal may
    be dismissed for lack of prosecution. 1st Cir. R. 3.0(b).

           An appearance form should be completed and returned immediately by any attorney who
    wishes to file pleadings in this court. 1st Cir. R. 12.0(a) and 46.0(a)(2). Any attorney who has not
    been admitted to practice before the First Circuit Court of Appeals must submit an application
    and fee for admission using the court's Case Management/Electronic Case Files ("CM/ECF")
